






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00298-CV






In the Interest of L. M. H.






FROM THE DISTRICT COURT OF BELL COUNTY, 169TH JUDICIAL DISTRICT

NO. 220,516-C, HONORABLE MICHAEL J. NELSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	  Appellant filed his notice of appeal on May 8, 2007.  The clerk's record was filed
on May 16.  On August 20, 2007, the Clerk of this Court sent appellant notice that his brief was
overdue and informed him that unless he filed a motion for an extension of time by August 31, the
appeal would be dismissed for want of prosecution.  Appellant has not responded to this or other
communications from this Court.  We therefore dismiss the appeal for want of prosecution.  Tex. R.
App. P. 42.3(b).

					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear, and Pemberton

Dismissed for Want of Prosecution

Filed:   October 3, 2007


